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                                                                                 f    CLERK, U.S.DISTRICT
                                  The Federal Bureau Of Prisons                                               COURT
                          For the Western Regional Counsel and Director
                                                                                          ~'~'~ ~ `~ 202~
                                                                                 CENT     L DiSTRiCT GF
 Brent Lofton                                                                    By                               ~
                                                                                                          CALIFO,~nnA
                                                                                                             n~-~.~~~_~ Y
 Claimant,
                                                                                                          F~~~~

                                                       2~21Gv~`~22- ~~-~l~N~X
 V.                                                  Tort Claim No. ~~►~'" ~~~'~~~'"~.~-.~~~
                                                     MONETARY CIJ~IM OR JURY DEMAND



 United States of America,
        Defendant.




                          FEDERAL TORT CLAIM ACT ("FTCA")
                 PURSUANT TO 28 U.S.C. & 2407 (b) ; 28 U.S.0 && 1346 (b) (1)
                       (2013) ;AND 28 U.S.C. &&& 2671-80 (2013)


1. Claimant re-allege and re-incorporate his affidavit /declaration as reference paragraphs 1
   through 19 as if fully restated herein. See Exhibit (A)

2. As set forth above in claimant's affidavit /declaration he suffered and continues to suffer
from FCI-Terminal Island CEO Warden F. Ponce, Associate Warden Mr. Soto, Health Service
Administrator Ackley, Nurse Ms. Lopez, and other medical staff (tortfeasor's) negligence,
wrongful act's or omission to issue him adequate medical care after the injuries to his ankle,
wrist, and shoulder.

3. Claimant has not received adequate medical care of treatment to either of his ankle, wrist or
shoulder after his July 19, 2019 injuries on the basketball court. See (Lofton Aff/ Decl. At 1-2 ¶
A). Here at FCI-Terminal island.

4. As set forth above, tortfeasors above in paragraph 2, have (not] attempted to issue claimant
medical care and treatment between the time of July 19, 2019 through the very day of
endorsing this ("FTCA")claim on October 10, 2019. Thus, is a clear claim failure to treat
claimant's injuries, negligence- delay of several months to issue claimant adequate medical
treatment for his ankle, wrist, and shoulder and medical malpractice. See (Lofton Aff/Decl. At
2-18 & Aj.

5. Claimant continue to suffer severe pain and suffering due to medical staffi and
administrator's here at FCI-Terminal island refusal and delay to issue him medical treatment for
his injuries.

6. Claimant's pain cause him to suffer at night from the severe pain; discomfort and lack of
sleep.
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 7. Tortfeasor's CEO warden F. Ponce, Associate Warden Soto and HSA Ackley and the
 Defendant(United States) owed a duty to claimant and had and continue to breach this duty
 and he seek immediate medical care and treatment and monetary sum for the continuing
 untreated injuries that I continue to suffer from here at FCf-Terminal Island.


                                     COUfVT ONE
                                        FfCA
                     CALIFORNIA-NEGLIGENCE-MEDICAL MALPRACTICE

8. Claimant re-allege and re-incorporate the above paragraphs herein.
9. Claimant asserts a monetary claim under FICA against the United States for negligence of
its employees, tortfeasor's and agents, while they worked in their employment scopes.
10. The negligence of these tortfeasor's was not discretionary, and was within the scope of
defined and specified-program duties. These tortfeasor's had specific duties and instructions
on how to act in each specific instance.
1 1. Defendant and tortfeasor's owed a duty to claimant to issue him proper and adequate
medical care and treatment.
12. Defendant's employee's had and continue to have had adequate and full notice of future
pending danger because of the alleged injuries.
13. Claimant suffers from substantial and permanent harms and injuries- because of the refusal
and delay of medical treatment.
14. Defendant are the proximate, legal, actual and factual cause of these continuing injuries.

                                  COUNT TWO
                                    FfCA
               GENERAL NEGLIGENCE-TOWARD BOP PROGRAM STATEMENT

15. Claimant re-allege and re-incorporate the above paragraphs herein.
16. As set forth above, this instance, conduct, heart-set and mind-set of Defendant and their
employees are similar to count one (see above). On the same basis, legal theory and elements,
defendant are liable for their actions or inactions of their employees and claimant is suing for
monetary damages.
                               COUNT THREE
                                    FICA
       NEGLIGENCE, WRONGFUL ACT'S, OMISSION AND DELAY OF MEDICAL CARE

17. Claimant re-allege and re-incorporate the above paragraph herein.
18. As set forth above, this instance, conduct, heart-set and mind-set of Defendant and their
employees are similar to counts one and two(see above). On the same basis, legal theory and
elements, defendant are liable for their actions or inactions of their employee and claimant is
suing for monetary damages.
19. The negligence, wrongful act's, omission and delay of medical cafe and treatment was not
and continue to not be discretionary and was within the scope of defined and specified-
program duties. These officials (tortfeasor's) had and continue to have specific duties and
instructions on how to act in each specific instance.
20. Defendant owed a duty to claimant and grossly breached this duty.
21. Claimant suffers) and continue to suffer several [months] later with an injuries ankle, wrist
and shoulder with sever pain in all, more so, that pains in my ankle (leg) pains have become
excruciatingly painful in the last(30-days). Because of the delay and refusal of medical care
and treatment.
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 22. Claimant suffered and continue suffer physical and emotional anguish by the defendant
 breached duty to help the claimant.
 23. Defendant are the proximate, legal, actual and factual cause of these above injuries.

           DEMAND FOR MEDICAL TREATMENT AND COMPENSATORY DAMAGES

24. Claimant respectfully wish that this agency, to order immediate medical care and treatment
of his leg, ankle, wrist and shoulder.
25. Claimant seek and assert a monetary claim under the FICA against the United States for
$250.000.00 for the injuries alleged above and delay of medical care and treatment.
26. Actual Damages: $250,000(USD $)without the filing of a civil suit.
27. Actual Damages: $For Attorney Fee's of forced to have to file an civil suit.
28. Actual Damages: For an Medical Expert if forced to hire one for this FICA claim.

                                AFFIDAVIT AND VERIFICATION

        I, the undersigned, federal inmate Brent Lofton Reg: # 75759-112, verify and certify that
the actual assertions in this "FICA" claim are true, accurate and precise to the best of my
memory and knowledge just as all statements and facts in his attached affidavit /declaration.
        Further Affiant Sayeth Not.                                      Respectfully Submitted.


                                                                                  Brent Lofton
                                                                             Reg: # 75759-112
                                                                            FCI-Terminal Island
                                                                                P.O. Box 3007
                                                                          San Pedro, Ca 90733
Case 2:21-cv-01922-TJH-AFM Document 1 Filed 03/01/21 Page 4 of 21 Page ID #:4




                                   Exhibit
                                     «A„
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 Brent Lofton
 Fed. Reg: # 75759-112
 FCI-Terminal Island
 P.O. Box 3007
 San Pedro. Ca 90733


                                 FEDERAL BUREAU OF PRISONS
                              FOR THE WESTERN REGIONAL OFFICE



 STATE OF CALIFORNIA                                          AFFIDAVIT! DECLARATION OF
                                  SS.                         Brent Lofton
 COUNTY OF LOS ANGELES
                                                                Reg: # 75759-112



 I, Brent Lofton, being competent to testify and having first hand knowledge of the facts stated
 below, declare that the following facts and statements are true and correct of my own personal
                     knowledge and to the best of my information and belief:

       On July 19, 2019 While I was playing basketball at FCI Terminal Island Recreational yard,
        feel and another federal prisoner landed on both of my ankle and shoulder. Immediately
       felt and heard a popping sound in my ankle, but also my wrist for attempting to soften my
          fall. See Video Tape Surveillance at approximately 1:00 pm through 2:30 pm as direct
                                                    evidence.
2     As set forth above, I testify that the same day, medical staff was brought aware of the injury
      and a medical cart was in route. The medical staff John Doe and other's escorted me to the
         medical department, they cut my socks off and wrapped my ankle and informed me to
                 elevate it. While at the same time ignoring my injured shoulder and wrist.
3       July 20, 2019 the next day, why I was laying in bed the whole day. Nurse Ms. Lopez and
     Jane Doe issue me an ice pack for the swelling around my ankle, I then informed Ms. Lopez
        that I could not feel it through the bandages and she informed me that she would return
      and she never did, even after I informed her and other medical staff of my inured shoulder
                                            and wrist, I was ignored.
4.   As set forth, I forced to remain in severe pain with no medical care or treatment for either of
      my injured ankle, wrist and shoulder. I was unable to sleep because of the ongoing chronic
                                     pains in my ankle, wrist and shoulder.
5.      On July 21, 2019 the next day, I laid in bed in pain and was still ignored medical care or
                                                   treatment.
6.     On July 22, 2019, i still did not receive any care or treatment for my pain and suffering of
        my ankle, wrist and shoulder by all medical staff that I came in contact with here at FCI-
                                               Terminal Island.
7.     On July 23, 2019 medical staff John Doe escorted me to X-ray of my ankle only. Medical
       staff then informed me that nothing was broken, and I personally informed medical staff
        (Doctor John Doe) that it felt like it was my achilles that was injured. Dr John Doe then
      asked me if I could move my toes, and I informed him that I could not, and he said ("ok")
     and walked away totally ignoring my complaints of me not being able to move my toes, and
                           still ignoring my severe pain in my wrist and shoulder.
     As set forth above, I request a wheelchair because I could not put pressure on my ankle or
      was able to walk. To place injury on top of injury, I was 1) my complaints oft being able to
     walk or place pressure on my ankle was ignored; 2) I was refused a wheelchair; and 3) 1 was
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      forced to climb up and down from a 6' foot high bunk, in which caused additional pain and
                                 suffering on my ankle, shoulder and wrist.
9. As set forth above, I was forced to endure severe pain just trying to get out of bed. I could
         not sleep because of the pain, I was reluctant to climb out of bed to use the restroom
         because of the severe pain of climbing out of the bunk bed. I repeatedly requested a
       bottom bunk bed and was ignored by both medical staff and prison officials although he
      inured my ankle, shoulder and wrist (all the body part's needed to climb up and down out
                                         of a 6'foot high bunk bed.
 10. On August 12, 2079, I sought medical treatment for my pain and suffering to sick call after
      going on over(2 J weeks wit[no] treatment. I was not even given a superficial examination
                  for my pain and suffering, I was just informed to watch the call-out.
1 1.     On August 19, 2019(seven days later } I reported back to sick call and was seen by
      medical staff bait and he informed me that I would be on the call-out for Friday August 23,
                2019. i was once again ignore of my pain and suffering by medical staff.
12. I watch the call-out for August 23, 2019, but I was not on the call-out for August 23, 2019.
13. On August 27, 2019 after watching the call-out for four days, I returned to sick-call for the
     pains in my ankle, shoulder and wrist...and once again medical staff ignored my complaints
           of pain and suffering, because once again, I was informed to watch the call-out.
14.      As set forth above, the same day on August 27, 2019 flustered and in severe pain,
       approached Associate Warden J. Soto and he informed me that he would email medical
      staff for me. It is to my belief and information that my complaint was once again ignored,
                                    and I was forced to remain in pain.
15. On September 11, 2019(two weeks) after informing Associate Warden J. Soto of my pain
      and suffering of ankle, shoulder, and wrist...) then approached Unit Manager Ms. Watkins
      whom was standing with Associate Warden J. Soto complaining of my pain and suffering.
       Both Ms. Watkins and Warden J. Soto told me to go to the medical department to see a
     doctor ,whom informed me that he made me an appointment to see an orthopedic doctor
                                         for September 13, 2019.
16. September 13, 2019 came around and I was not called for treatment or care ofi my ongoing
           pain and suffering by no medical staff for acall-out and or to see an orthopedic.
17. As set forth in paragraphs 1 through 16, I testify that my ankle is swollen still to this very
      day of the signing of this affidavit/ declaration, I testify that I remain in severe pain in both
      my ankle, wrist ,and shoulder. I also testify that to my belief and information the delay of
       medical care and treatment have not only caused severe pain for over two months and
              counting. But I have not been seen or treatment for• my pain and suffering.
18.     I was informed that I was approved to see an orthopedic surgeon, but have yet to have
      seen one as of the 16th day of September, 20i 9. !remain in severe pain without treatment
      for 56-days and counting with no medical care or treatment for either of my injured ankle,
       shoulder, and wrist... I have nat even been seen and or x-rayed for either of my shoulder
      and wrist, and only an superficial examination for my ankle in which pains me the worst of
                                               the three.
19. I testify that I have read the above paragraphs 1 through 18 of the affidavit/ declaration and
       testify that the statement are true and correct to the best of my knowledge, information,
   and belief; I understand any false statements of material facts could subject me to penalties
                              of perjury under Title 28 U.S. Code, Sec. 176

EXECUTED: this 16th day of September, 2019                            Respectfully submitted,


C.C. File                                                             Brent Lofton
                                                                      Fed. Reg: #14113-112
                                                                      FCI-Terminal Island
                                                                      P.O Box 3007
                                                                      San Pedro, CA 90733
   Case 2:21-cv-01922-TJH-AFM Document 1 Filed 03/01/21 Page 7 of 21 Page ID #:7


               Congress Orthopaedic Associates, Inc

                   800 S. Raymond Ave. 2nd Floor          ❑ 800 S. Raymond Ave.3`d Floor
                   Pasadena, CA 91105                       Pasadena, CA 91105
                   Phone(626)795-8051 Fax (626)795-0356        Phone(626)396-1262 Fax (626)396-1269




                                   Michael J. Fraipont, M.D.

                            DOCTOR'S CERTIFICATE FOR WORK




9/14/2020


Brent Lofton has been under my care and is able to return to
work on/in 9/15/2020


RESTRICTIONS: Patient has R achilles weakness, due to an old injury that was not
sur~ically repaired. He is able to workout with restrictions, but allow m~patient to work as
tolerated.



PHYSICIAN SIGNATURE:


         V

Michael J. Fraipont, M.D.
       Case 2:21-cv-01922-TJH-AFM Document 1 Filed 03/01/21 Page 8 of 21 Page ID #:8

                                                    Congress Orthopaedic Associates -Pasadena




                                                                                                                   800 5. Raymond Ave.
                                                                                                                    Pasadena, CA 91105
                                                                                                                  Phone: (626)795-8051
                                                                                                                    Fax: 16265 795-0356
Brent Lofton                                           Patient #: 2000023410                            DOB: 05/17/1985(35 years)
Documented: 09/14/2020 01:21 PM                                                              Appointment: 09/14/2020 01:15 PM



History of Present Illness
Patient words: PT states he injured his achilles last July playing basketball. He is now here for treatment.
The patient is a 35 year oid male who presents with ankle pain. Patient is a 35-year-old gentleman who comes in today with a
complicated history of feeling his Achilles rupture will performing a layup and basketball July 2019. At the time he was incarcerated
and was treated nonoperatively and without immobilization. He currently complains of pain to his and Achilles area with activities as
well as weakness in attempting those activities. He has more recently obtained an MRI.
M RI of his right Achilles demonstrates evidence for prior rupture and's guarded healing.


Review of Systems
Respiratory Not Present- Cough and Dyspnea.
Cardiovascular Not Present- Chest Pain, Difficulty Breathing On Exertion, Hypertension and Leg Cramps.


Physical Exam
The physical exam findings are as follows:
M usculoskeletal

Right Achilles exam:
Patient has tenderness in his Achilles throughout its course there is asymmetric calf muscu/ature noted. Patient is not able
to maintain asing/e leg heel rise.
Assessment &Plan
Contracture of right Achilles tendon (M67.01)
Today's Impression: Diagnosis:
1 year status post right Achilles tendon rupture and healed contracture.
Plan:
Patient I discussed probable surgical intervention. However due to the complexity of this case I will be providing him with a
referral to my foot and ankle partner specialist Tom Harris.



                                                   ~//                      ~~
puestionnaires:
                                                               ~,~ ~,
                                                              5~-
                                                                 0~




               . _, . .
Brent Lofton                                             Patient #: 2000023410                              DOB: 05/17/1985(35 years)
Thursday, September 17, 2020                                                                                                Pagel/2
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                             Document510:18:33
                                      1 Filed 03/01/21
                                                   2 /3Page 9 of 21 Page ID #:9
                                                        BRENT LOFTON -Page 1 of 2

 ..:..~   ........................................................................ ...

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                                                   :.

 A ddress-155 N SanVicenteBivd, Beverly Hilis, CA 90211
                                                                                                          SimonMed Southern CA San Vicente
    FINAL                                                                                                    DIAGNOSTIC IMAGING REPORT


 PatienC L OFTON, BR E NT                                               Sex: M DOB: May 17, 1985   Age: 35 Diag. Imaging #4628181
 Status: 0utpatient
  Referring Physician: Brian Gamble MD


 Exam#29709607-Aug 11, 2020- MRI3T -ANKLE JOINT W/O CONTRAST -Right

INDICATION: Strain of the Achilles right ankle, playing basketball August 2019

 COMPARISON: None.

T ECHNIQUE: Multiplanar MR imaging of the right ankle is obtained without contrast, and with
multiple pulsesequences.

 FINDINGS:
 T L~,~+.~r~.
 A chilles tendon: There is marked thickening of the Achilles tendon atthe level of the critical zone
 measuring approximately 1.35 cm ire anteroposterior dimension and 1.67 cm in mediolateral dimension
(series 3) 1 i mage 9, series 701 i made 19). A pprox i mately 7,5 cm prox i mal to the distal insertion is an
 area of intrasubstance hyperintense signal along the posterior fibers measuring approximately 2.3 x 0.9
 cm in craniocaudal and mediolateral dimension concerning for partial thickness interstitial delamination
 tear {series 301 image 10, series 701 image 9). No evidence of enthesopathy, retrocalcaneal bursitis, or
 i nsertional tear.

Peroneus brevis and longus tendons: Intact

Posterior tibialis, flexor digitorum longus, and flexor hallucis longus tendons: Intact

 Dorsal exterior tendons: Intact
 L igaments:
 Deltoid and Spring ligament: Intact
Syndesmosis and anterior and posterior tibiofibular ligaments: Fluid along the syndesmotic space
extending approximately 1,4 cm proximal from the joint line likely sequela of ankle sprain. The anterior
and posteri or ti bi ofi bular I igaments are i ntact

ATFL, PTFL and calcaneofibular ligoments: Complete tear of the ATFL. The calcaneofibular ligament
and posterior talofibular ligaments sire intact
Plantar fascia Intact
Case 2:21-cv-01922-TJH-AFM Document 1 Filed 03/01/21 Page 10 ofLOFTON-Pa
                                                       BRENT    21 Page ID #:10
                                                                         g+e2of2

Sinus Tarsi: Intact

J oints/Cartilage: No focal full-thickness cartilage defect along the talar dome. Small joint efftaon aicx~g
the tibiotalarjoint extending posteriorly as wel l asjointfluid along the micffaot

Neurovascular structures: W ithi n normal I i mits.

Bones and Marrow: Marrow signal is normal with no evidence of infiltrative p~a~s arfractiae.

IMPRESSION;

1, M arked thickeni ng of the A chi I I~ tendon at the Corti cal zone consistent with tendi nosis with parti al-
thicknessinterstitial delamination tear along the posterior fibers approximately 7.5 cm proximal from
the distal insertion measuring 2.3 x 0.4 cm.

2. L ikely sequels of ankle sprain with fluid along the syndesmotic space and complete tear of the AT=
withjointfluidalongthetibiotalarjoint, subtalarjointand micffoot



dd: A ug 12, 2024
Reported by: M D, A I ex Munoz
E lectronically signed by: MD,Alex Munoz

Thank you foryour kind referral. If you require further assistance, please contact our Radiologist
H otJ i ne at480-551-0264.
                                                                                                                                            and/or A RS 36-
NOTICE: T his I r~fortreti on has been disclosed to you from records protected b~ F ederal and State cwifiderrtial i ty rules(42C F R Pxt 2
                                                                                                                                         bar the written conserrc
3661). T herules prohibit you from making arty further disclosure of this informatlon unless further disclosure is exprgsly permitted
of the person to whom It pertains, a as otherwise permitted b~ stable
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                                                                                         GEO C~tOUP, LNC -LOS AtJGELES, CA
                                                                                         9411 S. CEt~RAL AVE
                                                                                         LOS ANGLES , CA 90002




 NAME: LOFTON, BREM                     RE.SIDFM #: 75759-112                                 DOB: 5/17,1985

 C~PDER: Male                           FACILITY: GEO GROUP, INC -LOS ANGELES, CA

 RESPOPSIBLE PARTY:                     CLAIMS ADDRESS:                                       CLAIMS COHrACT II~RN:ATIOPt
 NaphCare                               2090 Columbiana Road, Suite 4000                      Fax:(205) 545-9470
 EDI Payer ID: 58182                    Birmingham, AL 35216                                  E-mail: ciaimsdepartrnent@naphcare.com
                                                                                              Website: providerpor~l.naphcare.com

 AlR}10RaATIONCODE(R3M): 198483(use this number to file claim)                                TRAPSPORTATIIXVTYPE: t~,ne



  ..~i           ~   ~ i

 PROVIDER: GOOD NQGHBOR CLINIC                       ADDRESS: 4300 CRESHAW BLVD ~ LOS ANGELES, CA 90008 ~ 3232981668 ~ FAX:

 SERVICE DATES: 7%24/2020 - ~/202U                                                            u...aa~.~..i . ....~L1':rsi3`J/~^v2^v - 1^'26J2B2J'---

 DEfAIIS: BRING NAPHCARE FORM, PHOTO ID, AND MEDICATIONS WEAR MASK

,~ SCEty4RI0: CONSULT-WrERNAL MEDICINE               APPOWI'MENTTIIrtE 12:30 PM               UtC~NC,Y: 14 days


 SPEQAL 1N5iRUCTIOPb: Precert Reason: Mr. Lofton e~erienced an Achilles injury while in prison that he would like to get looked at (in addition to
 a general work-up). Medical Problems: Mr. Lofton has/ had ruptured Achilles tendon Outside of that, he has no other physical concerns. Comments;
 Precert APPROVED by James, Cynthia of RFiS Group

 PRE-PROCEDURE/PRE-OP REQI~tEMEfYfS: If you have any questions, please call the doctor's office.




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 RECOMMEPDATIOf~6/STAY ORDERS:          `~l2 r             ~~           Z~ ~~ ~~ -~,re[~ S C~4 ~,~
                                                                        f~             ~,.J

 MmICATIONpiA1VG~S:               U,,


 PROVIDER'S SIQWA                                                                                                 DATE: `~]'~ ~ ~~


For follow-up                                                         via e-mail at rrc.referrals@naphcare.com.
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                                                                                         GEO GROUP, IIVC -LOS ANGELES, CA
                                                                                         9411 S. CENTRAL AVE
                                                                                         LOS A.NC~ELS , G4 90002




NAME: LOFTON, BRENT                    RESIDQYf #: 75759-112                                  DOB: 5/17/1955


(~PDER: Male                           FAm1TY: GEO GROUP, INC -LOS ANGELES, CA


 RE.SPOI~lSIBIE PA RTY:                CLA 1M5 A DDRFSS:                                      CLAIMS COPITA CT II~F~RMA TIOht
 NaphCare                              2090 Columbiana Road, Suite 4000                       Fax: (205) 545-9-70
 EDI Payer ID: 58182                   Bermingham, AL 35216                                   E-mail: daimsdepartrnent~anaphcare.com
                                                                                              Website: providerportal.naphcare.com


A U~FiORIIATDDN CODE(R3M): 208360(use this number to file claim)                              TRAf~lSPORTATION TYPE None



  ..~i     a   •      i


 PROVIDQ2: GOOD NQGFi80R CLIIVIC                     ADDRESS: 4300 CRESHAW BLVD ~ LOS ANGELES, CA 90008 ~ 3237.98? X58 i FAX:


SERVIC.c DC,Ta: 8J2-:/2020 - 10/15/2 20                                                ELIG~ILITY DATES: 5/20/2020 - 10/16/2020


 DEfAIIS: CALL TO SCHEDULE BRING NAPHCARE FORM AND PHOTO ID

SCENARIO: CONSULT-WfERNAL MEDICINE                   APPOIMMENTTA7E:                   UtGEf~,Y: 14 days

                                                                                                                     at. He was referred to have an
SPECIAL II~6TRl1CTI01~5: Precert Reason: Mr. Lofton had an appointrnent to have a (potentlal) achilles injury looked
                                               said MRI results read to him. Medical Problems: Mr. Lofton is currently dealing with a ruptured
MRl performed. He would like to return to have
achilles. Comments: Precert APPROVED    by lames, Cynthia of RHS  Group


 PRE-PROCEDI~tE/PREOP REQIAREMEMS: If you have any questions, please call the dolor's office.




                                  1,~,/f
 RECOMMETCATfOf~lS/STATORDERS: ~~~'                               -y-~\     ~~/J A
                                                                               '`~jJ ~~`/~




 MEDICAIIONCFIAM(~5:~~                /                      ~                  ~
                                                                                                                                        ~~;~~G --



 PROVIDER'S SIC~M17UtE:                                                                                           DATE: ~"Z~ ~l/
                                                                                                                              V


For follow-up appointment, c ntact aphCare via e-mail at rrc.referrals@naphcare.com.
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                  FCI TERMINAL ISLAND:Inmate Sick Call Sign-U~ Sheet
                              (Formulario y registro para Atencion Medica de Confinados)

                                                         INSTRUCTIONS:
                             YOU must fill out this form completely; ALL nwmbers i — ii.
                         fDebe de llanar este formulario comnletamente,todos numeros i-ii.)

             Sick call sign up on: Mondays,Tuesdays,Thursdays,and Fridays ONLY at 6:go-~:ooAM.
          (Apuntarse por Atencion Medica es Tunes, martes,jueves, y viernes solamente 6:go-~:oo.)

 i.Name: ~IJte ✓l~- L~~~t'al~                                2. Reg. Number: 7.~ ~ •`1°r "f ~ 2.
(Nombre)                                                   (Numero de Registr~o)

3.Date- ~~                    L~                            1
                                              4. Housing Unit: g. N'ork:                                                           (Fecha)
(Unidad)   ~-                          (Trabajo)

 6. Complaint•        't~'
(Queja. LCual es su proble a?)

 ~.How long have you had this problem?
(LDurante cuante tiempo ha tenido Este problema?)

 Days               Months:                _Years:                       8.*Do you need refills? Yes: ❑                ~o:'G~'l
(Dias)              (Meses)                 (Anon)


9.Are you on any medications)at present? Yes:~l I`To:
(LEsta usted tomando alguna(s) medicinal actualmente?)

10. Have you bought Over-the-Counter medication from the Commissary? Yes: ~No:~-
(LHa comprador medicinal non-prescipcion en la Benda?)

Inmate Signature:
      (Firma)
                                                     *Reminder (Recordatoriol*
 Over-the-counter medications(OTCs)such as: anti-fungal creams, ibuprofen, acetaminophen, allergy medications, etc...are available
                            for purchase from the Commissary. ~**OTCs WILL NOT be prescribed**'
(Es possible para comprar medicinas de la comisaria. Medicinal Como crema antihongo,ibuprofen, acetaminophen, medicamento para
                                  la alergia etc... No va a prescriber estas medicinal de ]a farmacia.)

                          A Pharmacist is available to discuss medication(sl: Monday-Friday at 2:~oPM
                    "*Do not make a sick call appointment for this. Go to the Pharmacy Window at the allotted time.**
                                                                                                                             esta problems.)
(Si tiene preguntas acerca de las medicinal, puede hablar con la a las 2:30 pm Tunes-viernes. No hate una "sick call" pars

  Dental Triage YES or NO                               Dental Appointment Date~me:
  Extraction Re uested? Yes or No                       Location of Problem: U er Lower Ri ht Left Front


  HSU Triage          Appointment date /time:


         BP                 Pulse           Respirations Temperature                            Sp02                  BGL




 Provider signature                                                              Date:                     Time:
     Case 2:21-cv-01922-TJH-AFM Document ~;1 Filed 03/01/21 Page 14 of 21 Page ID #:14
                                                  B ur~~tu of Prisons
                                                  ~~I~n ~~:rvices
                                                 Medical Duty Status
                                                 Innate Name:        l_OFTON, BRENT JEFFREY
Reg #: 75759-112
                               ~~v~: ,    ~                                            , .-~ - _ . _: ~.
Housing Status,                                                                             Exp. Date:
                                                           _dill line _tre atme nts
   confined to the living quarters e;;~~ept _meals
                                                                                            Exp. Date:
   on complete bed rest:         ,bathroom privileges only
                                                                                isolation Exp. Date:           08/3~(?019
 X cell:    cell on fir~.~ floor   single cell X lower bunk _airborne infection
                                                                                            Exp. Date:'
   other:

Physical Lir ~cation,~cestriction
                                                                                                  Exp. Da=~~: _ 08/30/2019
 X all spy -ts
                                                                                                  Ex~~ Date:
_ weighti~ftir~g:     _upper body          _lower body
                                                  __walking _softball                    Exp. Date:
   cr:~rdiovascular exercise: _running dogging
                                                                            equipmE it
                           _football _basketball _handball _stationary
                                                                   _      .~~            cXN. J' 2:E:
   other:
                                                    ssion:                             . _,,, ,~
May have the following equi~;ment in his /her posse
                                                                                End Date              Return Date
                                                           Start ?~ _ ~
Equipment                                                         :,,
                                                           n-,moo ,   .,n       ns?~~ o~~~~  n
r ~~ 1...hoc-



                                                  ~                             ;,
Work Restriction 1 Limitatior~:~
                                                               ` :~
                                                               't~
Cleared for Food Service' Yes
                                                               8                                         Expirat;on Date
Restriction                                                                                              08/30/2019
Medical Idle

 Comments: N/A
                                                                                                0712312019
                                       Nufar;e. N.. RN
                                                                                                   Date
 Health Services Staff
                                                                 Reg #:        75759-112   Quarters:   J02
 I nmate Name:           LOFTON, BFi~~S'i JEFFREY

 ALL EXPIRATION DATES Ak'f_ :<'1T 24:00

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                                                                                                                 Page 1 of 1
                                         M. RN           [s~rea~: of !'risons - TRM
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  Case 2:21-cv-01922-TJH-AFM Document 1 Filed 03/01/21 Page 15 of 21 Page ID #:15
                                                         Bureau of Prisons
                                                          Health Services
                                                        Medical Duty Status
  Reg #: 75759-112                                      ins Hate Name:     LOFTON, BRENT JEFFREY

 Housing Status
    confined to the living quarters e~.cept _meals                     _pill line         _treatments         Exp. Date:
      on complete bed rest:                _bathroom privileges only                                         Exp. Date:
  X cell:       cell on fir.> floor       single cell   X lower bunk      _airborne infection isolation Exp. Date: _         X3/1 ~~~~~20
 _ other:                                                                                                    Exp. DatF:.

 Physical LimiYation~cestriction
      all sports                                                                                             Exa. Ja'~:
      weigf~tlifting:   _upper body              _lower body                                                 Exp. date:
  _ cardiovascular exercise: _running Jogging _walking _softball                                             Exp. Date:
                                      football      basketball     handball        stationary equiF.~ne~it
 _ other:                                                                                                    Exp. Date:

May have the following equipment in his /her possession:
 Equipment                                                                 Start Date              End Date                Return Date
 Walker                                                                    01/2/2020               04/30/2020
    Knee walker

Work Restriction /Limitation:
 Cleared for Food Service:        No
Restriction                                                                                                         Expiration Date
Medical Convalescence                                     ~~!ch~el Rinaldi, CDR,                                    02/21/2020
                                                                  A hyslcal Therapist
                                                                                      USPHS
Commen ~ N/                                                      F~~ Terminal(stand
                                                                  ;_' ~~s~au of Prisons
   ~i                                  Rinaldi, Michael PT                                              01/28/2020
Health Services Staff                                                                                      Date
I nmate Name:            LOFTOht, t3RE~:T JEFFREY                   Reg #:        75759-112       Quarters:     G03

ALL EXPIRATION DATES ARE AT 24:00




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   Case 2:21-cv-01922-TJH-AFM Document 1 Filed 03/01/21 Page 16 of 21 Page ID #:16
                                                          Bureau of Prisons
                                                           H~altn Services
                                                         Medical Duty Status
   Reg #: 75759-112                                      Inmate Name:        LOFTON, BRENT JEFFREY

  Housing Status
     confined to the living quarters e::cept _meals                       _pill line   _treatments              txp. Date:
      on complete bed rest:              ,bathroom privileges only                                              Exp. Date:
   X cell:       cell on firsi floor     single cell     X lower bunk _airborne inflection iso~a5on Ezp. Date:                  Q3+16J~020
      other:                                                                                                    Exp. Date:

 Physical Lirr~siationi~iestriction                                           „,                ~    ...~ ~ A                ~~
      all sports
                                                                                                          ,~ >Exp. Dale:
  _ weiyhiiifting:      _upper body            _lower body                                                    Exp. Date:
`cardiovasc::la; exercise: _ru~r,i;ig ~o~ging __walking _se`!ball                                               Exp. D2te:
                                    football         basketball        handball    stationary equi~;:-ne~t
      other:                                                                                                    Exp. Date:

 May have the following equipment in his /her possession:
 Equipment                                                                   Start Uate             End Date                 Return Date
 Walker                                                                      01/28/2020             04/30/2020
    Knee walker

 Work Restriction /Limitation:
  Cleared for Food Service:        No
 Restriction                                                                                                           Expiration Date
 f,~edical~Ccr~vaiescence                                   ~~~h~~,~                                                   v2/G i/2ULu

fsc~rfimen~i~                                                   Fchl'si
                                                                   R~~d~~~ c
                                                            O     ~T a~T O
              C
              `  --- Rinaldi, t+~ichael PT~e~A~%~`~
                                              l          sfi~Sp~_      01/28/2020
 Health Services Staff                          °r,o~~s~a                  Date
                                                      o,~
 I nmate Name:        LOFTON, E3RE~1T JEFFREY  Reg #: S 75759-112 Quarters: G03

ALL EXPIRATION DATES ARE AT 24:00




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  Case 2:21-cv-01922-TJH-AFM Document 1 Filed 03/01/21 Page 17 of 21 Page ID #:17
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                                                              "~•~BE :~1 SF.; VICES
                                                            Medical Qc,~ y Status
                                                            Ir;nat:~ ~~!am~~:        UFTON, BEENi JEFFREY
Recd #: 75759-11?                                                                                                                                      ~~`', q
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Haustno Status                                                                                                          Exp. Date:
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___ ~:cnfirisd to the living quart~;rs e::^;pt ._._
                                                                                                                        Exp. Date:
    un rompiete b~~d rest:             _uathroon: ;~_~~,~~ye:, oni;
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                                          si~g!r czil        :< ;...     ,~~rh   _airborne infection isolation Exp. Date
   -ell:
   :              celi on fir.; fl~~;,.
                                                                                                                EXp. Date:      ~1?(31/2019
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 X v r~~~: ::oft Shop ?.j_ >diC~l rL&So::'~ ,_„--                                                             ~          ~r , ' ~,s~. ~:~~
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Nfay h ive tFie'f~lio~ving eyuEpn~e~~t•in hi~'i I~gr                                                                                    Return Date
                                                                                      ;;tart )~~:e           End Date
 ~q:.•iprnent                                                                                                08/23/2019
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 Cru^hes                    —
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 Work t2~~~+.rfctia~~ ~ l.tmit32ion:
 C!e~re:! fay ~=co:i ~ ~,~~ce: No
                                                                                                                                     ~2/2112~20
                                                      ~ ~        ~~
 Medical Convalescence

 Comments: N/A
                                                                                                                       12/20/2019
                                                       V. f='~P~
                                                                                                                          Date
 He •!th Services Staff                      ;,~ ~`    Y~~~~
                                                                                 Re~~ #:     15759-112       Quarters:          G03
 Inmate Name:                 LOFTON, Br~,~ ~v JEFFREY

 ALL EXPIRATION DATES AFB:'= ~T 24:00




                                                                                                                                           Page i of 1
                                                     -8C               Gurea.: ~t ~=dsons - TRM
  !?enereted 12/20/2019 'i 1:12 by M1lorrison, V. FNS
   Case 2:21-cv-01922-TJH-AFM Document 1 Filed 03/01/21 Page 18 of 21 Page ID #:18
                                                    Bu~r~~au ~f Prisons
                                                     ~-It-~lti~ Services
                                                   Medical Duty Status
 Reg #: 75759-112                                  Innate Name:      LOFTON, BRENT JEFFREY

Housing Status
   confined to the living quar+ rs e. ~.ept _meals               _pill line      _treatments      Exp. Date:
 _ on complete bed rest:                _bathroom privileges only                                 Exp. Date:                  __
    cell:      cell on first floor     single cell _lower bunk _airborne infection isolation Exp. Date: _~_
    other:                                                                                        Exp. Date:

Physical Lir~,~cation~~cestriction
 X all sports                                                                                    Exp. Date:      08/30/2019
     waightiiiting:   _upper body           _lower body                                          Fxp. Jate~
    ~,.~rd~,~ascular exercise' _running _jogging _walking _soitbali                Exp. Date:
                              football basketball handball  stationary equiF,~e~~t
    other:                                                                                       Exp. Date:

May have the following equipment in his /her possession:
Equipment                                                             Start Dare          End Date             Return Date
Crutches                                                              C~`~2?/2019         Q8,'23;2019

Work Restriction /Limitation:
Cleared for Food Service: Yes
Restriction                                                                                               Expiration Date
Medical Idle                                                                                              08/30/2019

Comments: N/A
                                     Hosseini, Seyed MD                                        07/23/2019
Health Services Staff                                                                             Date

Inmate Name:            LOFTON, BRUNT".iEFFREY                 Reg #:       75759-112    Quarters:      J02

ALL EXPIRATION DATES Ah~ ;'-: T 24:00




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              CLAIM FOR DAMAGE,                                        INSTRUCTIONS: Please read carefully the instructions on the                      FORM APPROVED
                                                                       reverse side and supply information requested on both sides of this              OMB NO.
               INJURY, OR DEATH                                        form. Use additional sheets) if necessary. See reverse side for                  7105-0008
                                                                       additional instructions.

   1. Submit To Appropriate Federal Agency:                                                        2. Name, Address of claimant and claimants personal representative, if
  Federal Bureau of Prisons                                                                        any. (See instructions on reverse.) (Number, Street, City, State and Zip
  Western Regional Office/ Counsel                                                                 Code)
                                                                                                  Brent Lofton
  7338 Shoreline Drive
                                                                                                  Fed. Reg:# 75759-112
  Stockton, Ca 95219                                                                              FCI-Terminal Island
                                                                                                  P.O. Box 30u7
                                                                                                  San Pedro, Ca 90733
  3. TYPE OF EMPLOYMENT                    4. DATE OF BIRTH            5. MARITAL STATUS           6. DATE AND DAY OF ACCIDENT                          7. TIME (A.M. OR P.M.)
    ❑ MILITARY   CIVILIAN                        05/17/85                     N/A                         7/19/19 through 1 011 0/2019                       Different times

  8. Basis of Claim (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the
     place of occurrence and the cause thereof. Use additional pages if necessary.)




  9.                                                                              PROPERTY DAMAGE

  NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT(Number, Street, City, State, and Zip Code).
                                                                                            N/A


  BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF DAMAGE AND THE LOCATION WHERE PROPERN MAY BE INSPECTED.
  (See Instructions on reverse side.)                      SEE ATTACHEMENT




  10.                                                                  PERSONAL INJURYIWRONGFUL DEATH

 STATE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAMANT,STATE NAME OF
 I NJURED PERSON OR DECEDENT.
                                                                                 SEE ATTACHMENT




 1 1.                                                                                  WITNESSES

                               NAME                                                               ADDRESS(Number, Street, City, State, and Zip Code)
  Video Surveillance Tape on July 79, 2019 between the                                    In the possession of CEO Warden F. Ponce at FCI-Terminal Island
            hours of 1:OOpm through 2:30pm                                                                P. Box 269, San Pedro, Ca 90733




 12. (See instructions on reverse.)                                          AMOUNT OF CLAIM (in dollars)

 12a. PROPERTY DAMAGE                    12b. PERSONAL INJURY                              12c. WRONGFUL DEATH                     12d. TOTAL (Failure to specify may cause
                                                                                                                                       forfeiture of your rights.)
                    N/A                                   -Ankle, wrist, and shouter                             NSA                           5250,000.00

  CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
 FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM

 13a. SIGNATURE OF CLAIMA               e instructions on reverse side.)                          13b. Phone number of person signing form             14. DATE OF SIGNATURE
                  ~~



                             CIVIL ENALTY FOR PRESENTING                                                      CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                   FRAUDULENT CLAIM                                                                CLAIM OR MAKING FALSE STATEMENTS

 The claimant is liable to the United States Government for the civil penalty of not less than    Fine of not more than $10,000 or imprisonment for not more than 5 years or both.
 $5,000 and not more than $10,000, plus 3 times the amount of damages sustained                   (See 18 U.S.C. 287, 1001.)
 by the Government.(See 31 U.S.C. 3729.)

95-109                                                                           NSN 7540-00-634-4046                                    STANDARD FORM 95
                                                                                                                                         PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                         28 CFR t42
        Case 2:21-cv-01922-TJH-AFM Document 1 Filed 03/01/21 Page 20 of 21 Page ID #:20

                                                                                    INSURANCE COVERAGE

   In order that subrogation claims may be adjudicated, it is essential that the Gaimant provide the following information regarding the insurance
                                                                                                                                                   wverage of his vehicle or property.
   15. Do you carry accident insurance? ❑Yes         If yes, give name and address of insurance company(Number, Street, City, State, and Zip Code)and policy number.                     c No
                                                                                                N/A




  16. Have you filed a claim on your insurance carrier in this instance, and if so, is it full coverage or deductible?   des            ~°           17. If deductible, state amount.
                                                                        N/A
                                                                                                                                                                        N/A

  18. If a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your Gaim? (It is necessary that you ascertain
                                                                                                                                                                           these facts.)
                                                                                                N/A




  1 9. Do you carry public liability and property damage insurance? ❑Yes        If yes, give name and address of insurance Cartier(Number, Street, City, State, and Zip Code).           ❑ No
  N/A




                                                                                        INSTRUCTIONS

 Claims presented under the Federal Tort Claims Act should be submitted directly to the " ppropriate Federal agency" whose
 employees)was involved in the incident. If the incident involves more than one claimant,each cl imant should submit a separate claim
 form.

                                                         Complete all items -Insert the word NONE where applicable.

 A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                   DAMAGES IN A SUM CERTAIN FOR I URY TO OR LOSS OF PROPERTY,PERSONAL
 AGENCY RECEIVESFROMACLAIMANT,HIS DULYAUTHORIZEDAGENT,OR LEGAL                                   INJURY, OR DEATH ALLEGED TO HA E OCCURRED BY REASON OF THE INCIDENT.
 REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                   THE CLAIM MUST BE PRESENTED TO   EAPPROPRIATE FEDERAL AGENCY WITHIN
 NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                   TWO YEARS AFTER THE CLAIM ACC UES.
 Failure to completely execute this form or to supply the requested material within              The amount claimed should be substant ated by competent evidence as follows
 two years from the date the claim accrued may render your claim invalid. A claim is
 deemed presented when it is received by the appropriate agency, not when it is                   (a) In support of the claim for personal njury or death, the claimant should submit a written
 mailed.                                                                                         report by the attending physician, showing the nature and extent of injury, the nature and
                                                                                                 extent of treatment, the degree of permanent disability, if any, the prognosis, and the period
                                                                                                 of hospitalization, or incapacitation, attaching itemized bills for medical, hospital, or burial
If instruction is needed in completing this form, the agency listed in item #t on the reverse    expenses actually incurred.
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Titfe 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations. If more than one agency is                (bJ In support of claims for damage to property. which has been or can be economically
involved, please state each agency.                                                             repaired, the Gaimant should submit at least two itemized signed statements or estimates by
                                                                                                reliable, disinterested concerns, or, if payment has been made, the itemized signed receipts
                                                                                                evidencing payment.
The claim may be fled by a duly authorized agent or other Iegal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant. A claim presented by an agent or legal representative          (c) In support of claims for damage to property which is not economically repairable, or if
must tie presented in the name of the claimant. If the claim is signed by the agent or legal    ~e property is lost or desVoyed,the claimant should submit statements as to the original cost
representative, it must show the title or legal capacity of the person signing and be           of the property, the date of purchase, and the value of the property, both before and after the
accompanied by evidence of his/her authority to present a claim on behalf of the claimant       accident. Such statements should be by disinterested competent persons, preferably
as agent, executor, administrator, parent, guardian or other representative.                    reputable dealers or officials familiar with the type of property damaged, or by two or more
                                                                                                competitive bidders, and should be ceRified as being just and correct.

If claimant intends to file for both personal injury and property damage,the amount for each
must be shown in item #12 of this form.                                                           (d) Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                forfeiture of your rights.

                                                                                 PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3j, and      B. Principal Purpose: The information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice is attached.        C. Routine Use: See the Notices of Systems of Records for the agency to whom you
   A. Authority: The requested information is solicited pursuant to one or more of           are submitting this form fa this information.
      the following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq.,         D. Effect of Failure to Respond: Disclosure is voluntary. However,failure to supply
      28 C.F.R. Part 14.                                                                     the requested information or to execute the forth may render your claim "invalid".

                                                                        PAPERWORK REDUCTION ACT NOTICE

This notice is solelYfor the purpose of the Paperwork Reduction Act,44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per response,
including the time for reviewing instructions,searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of information. Send
comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts Branch, Attention:
Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, D.C. 20530 or to the Office of Management and Budget. Do not mail completed forms)to these
addresses.

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           OF THE RETURN ADDRESS. FOLD AT DOTTED LINE


            CERTIFIED MAIL
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